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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE


   PROLITEC INC.,

                   Plaintiff,
                                               C.A. No. 20-984-WCB
                         v.

   SCENTAIR TECHNOLOGIES, LLC.,                PUBLIC VERSION FILED
                                               September 19, 2024
                   Defendant.



                   LETTER TO THE HONORABLE WILLIAM C. BRYSON
                FROM BRIAN R. LEMON, ESQ. IN RESPONSE TO SCENTAIR'S
                LETTER TO THE COURT REGARDING SCENTAIR'S MOTION
               TO STRIKE PORTIONS OF DR. CORY PLOCK'S REPLY REPORT



   Dated: September 12, 2024

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  following the service of Prolitec’s Final Invalidity Contentions, which explained that the asserted
  claims were obvious in view of the cited references in combination with the knowledge of one
  skilled in the art at the time of the alleged invention.

          ScentAir presented for the first time in the rebuttal expert report of Mr. Dezmelyk that the
  cited obviousness references allegedly do not disclose an in table that is separate from an out table
  and therefore allegedly teach away from the asserted claims. See, e.g., Motion, Ex. 2 at ¶ 94. Dr.
  Plock’s Reply Report properly responded to these arguments raised for the first time by explaining
  that partitioning data tables and the motivations for doing so were well known in the art as of the
  priority date of the ’388 patent. See Motion, Ex. 3 at ¶¶ 119, 122-125.

   II.   ScentAir’s Letter Motion Should Be Denied

          “[E]vidence should be excluded sparingly and only in circumstances involving litigation
  conduct that is clearly unprofessional or inappropriate, and in circumstances creating prejudice to
  the party against whom the evidence is offered.” Bridgestone Sports Co. v. Acushnet Co., No. CIVA
  05-132 JJF, 2007 WL 521894, at *4 (D. Del. Feb. 15, 2007). In the Third Circuit, requests to
  excluded expert testimony are evaluating using the Pennypack factors: (1) the prejudice or surprise
  to a party against whom the evidence is offered; (2) the ability of the injured party to cure the
  prejudice; (3) the likelihood of disruption to the trial schedule; (4) bad faith or willfulness involved
  in not complying with the disclosure rules; and (5) the importance of the evidence to the party
  offering it. Id. citing Meyers v. Pennypack Woods Home Ownership Ass'n, 559 F.2d 894, 905 (3d
  Cir.1977).

         Because the challenged testimony was not the result of inappropriate litigation conduct and
  presents no prejudice to ScentAir that cannot be cured, ScentAir’s motion should be denied.

     A. Factor 1: The Challenged Testimony Is Not Unduly Surprising or Prejudicial

           ScentAir cannot reasonably claim surprise or prejudice when Prolitec responds to new
  rebuttal theories that ScentAir sprung “in the middle of expert discovery without any prior hint
  that it might do so.” Natera, Inc. v. CareDx, Inc., No. 20-038-CFC-CJB, Dkt. 392 (D. Del. Oct. 6,
  2023). It is not surprising that Prolitec would respond to opinions and theories that were not
  disclosed during fact discovery. And granting ScentAir’s motion would simply reward it for its
  own failures to disclose relevant information.

          As explained above, ScentAir did not produce documents evidencing the sale of a
  networked system to                           until just five days before the deadline for serving
  opening expert reports. In that time and at considerable cost, Prolitec provided expert opinions that
  the nearly 80 asserted claims from four patents then asserted were invalid in view of the prior sale
  to                   and obvious in view of prior art publications. Shortly after the report was
  served and prior to ScentAir’s rebuttal report, ScentAir, apparently conceding a lack of
  infringement evidence, dropped three of the asserted patents. See D.I. 177.

         In its rebuttal expert report, ScentAir asserted the novel theory that the scent devices in
                            were not networked despite its own documents readily describing them
  as such. See, e.g., D.I. at ¶¶ 8-17. Given ScentAir’s deficient interrogatory responses and late
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  disclosures, Prolitec had no basis to predict that such an argument would be raised and sought to
  address this argument in the reply report of its expert. Accordingly, Dr. Plock provided an opinion
  that to the extent that elements were not disclosed in the                              , they were
  obvious in view of publications already of record. Indeed, Dr. Plock cites primarily to his opening
  report in providing his opinion. See, e.g., Motion, Ex. 3 at ¶¶ 130-131.

          Similarly, the challenged obviousness opinions in paragraphs 119 and 121-125 respond to
  ScentAir’s novel rebuttal argument that the cited references fail to disclose separate in and out
  tables. See, e.g., id. at ¶ 119. The challenged opinions assert that the means and motive for
  separating or partitioning tables was within the knowledge of those of skill in the art as evidenced
  by cited introductory texts. That the knowledge of those of skill in the art may be combined with
  the cited references was previously disclosed in Prolitec’s Final Invalidity Contentions.

          Even if the challenged opinions were not entirely predictable in view of the rebuttal
  opinions of ScentAir’s expert, any prejudice is readily curable as explained below. There is no
  basis for ScentAir’s unsupported claim that approximately five pages of an expert report
  addressing references long known to the parties would necessitate reopening fact discovery, new
  fact depositions, and re-issued expert reports. The relevant information is provided in third party
  publications or has at all times been in ScentAir’s custody and control. There is simply no basis
  for ScentAir to claim it needs additional fact discovery.

          Further, the parties’ prior supplemental reports addressing entirely different patents and
  issues are irrelevant and relate to an already concluded proceeding. There has been no indication
  that Prolitec’s conduct in that proceeding was in any way improper.

          Finally, the challenged opinions are in no way inconsistent with the parties’ previous
  briefing under Section 101 and ScentAir has given no explanation as to why or how it would need
  to abandon or “re-tool” any of its positions to date in view of Dr. Plock’s Reply Report.

     B. Factors 2 and 3: Any Prejudice to ScentAir is Readily Curable Without Disrupting the
        Case Schedule

           Any prejudice to ScentAir is readily curable by allowing it to provide responsive opinions
  in a brief supplemental report. Prolitec has already offered such a proposal to ScentAir. In addition,
  so as to not upset the deposition schedule, Prolitec had also offered to allow responsive expert
  opinions to be provided through deposition. ScentAir has rejected these offers and instead pursued
  this motion, which has necessitated the cancellation of previously scheduled depositions.

          ScentAir’s letter brief overstates the extent of the challenged opinions which only span
  approximately five double spaced pages. For example, ScentAir states that the challenged opinions
  “more than quadrupled” the number of obviousness grounds to reach a total of 38 grounds. But, in
  fact, Dr. Plock simply opined that the claims are obvious when                                     is
  viewed with combinations of references that have already been thoroughly analyzed by the parties.
  ScentAir attempts to overinflate the number of grounds by tallying all possible combinations of
  references that were identified as alternative disclosures of similar or overlapping subject matter.



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          Further, ScentAir’s concerns about scheduling appear to be premised entirely on the
  schedule of one member of its trial team in unrelated matters. Prolitec is certainly willing to
  cooperate with reasonable scheduling requests from opposing counsel, as evidenced by its efforts
  to avoid motion practice here and maintain the previously agreed deposition schedule. But
  Prolitec’s case cannot fairly turn on the schedule of one attorney, particularly when ScentAir is
  represented by a team of lawyers at a large and highly respected firm.

     C. Factor 4: Prolitec Acted in Good Faith

          As explained above, Prolitec could not have provided the challenged opinions previously
  because they are responsive to rebuttal arguments that were not disclosed during fact discovery as
  they should have been. ScentAir is aware of this fact as these explanations were provided through
  email correspondence and in the meet and confer prior to ScentAir’s filing its motion.
  Nevertheless, ScentAir complains that Prolitec did not include                                   in its
  invalidity contentions without mentioning that ScentAir did not produce documentation showing
  the prior sale to                  until months later. Indeed, as late as May 1, 2023, just two weeks
  prior to the close of fact discovery, ScentAir stated that actual reduction to practice of the of the
  ’388 patent began “at least as early as February 2016” without mentioning that
          had been installed years earlier. See Ex. A at p. 8.

          ScentAir has not provided an explanation for its failure to disclose the prior sale of
                             just as it has not provided an explanation for its failure to disclose its
  position that the cited prior art fails to disclose separate in and out tables in response to Prolitec’s
  contention interrogatory.

          ScentAir claims a lack of good faith by asserting that Prolitec delayed the presentation of
  the challenged opinions to deprive ScentAir of an opportunity to respond. This is untrue as Prolitec
  has already agreed to allow ScentAir an opportunity to supplement its expert report to respond to
  the challenged testimony. Instead, with this motion, it is ScentAir that seeks to deprive Prolitec of
  an opportunity to respond to its own positions that were withheld until the middle of expert
  discovery.

     D. Factor 5: The Challenged Testimony is Important

          Finally, ScentAir’s assertion that the challenged testimony is unimportant undercuts its
  claims that allowing it would require additional extensive discovery. While ScentAir is correct that
  other bases for finding the ’388 patent invalid remain, the challenged testimony is necessary for a
  full and fair evaluation of the parties’ obviousness assertions.

          For these reasons, the court should deny ScentAir’s motion to strike. Should the Court find
  it warranted, Prolitec does not oppose ScentAir providing a brief supplemental expert report to
  respond to the challenged testimony.




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        Respectfully submitted,

        /s/ Brian R. Lemon

        Brian R. Lemon (#4730)

        cc: All counsel of record (via email)




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                         EXHIBIT A
          REDACTED IN ITS ENTIRETY
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                         EXHIBIT B
           REDACTED IN ITS ENTIRETY
